Case 2:04-cV-02732-.]P|\/|-de Document 14 Filed 09/01/05 Page 1 of 2 Page|D 20

 

IN THE UNITED sTATEs DISTRICT coURT §RE)BY
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GEORGE woFFoRD. CEM(USF@SUQD
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W“B C’F m ` t:"rQOlNT
Plaintiff, "“MWM

vs. NO. 04-2732-M1V

INTERNAL REVEN'UE SERVICE,

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Defendant.

 

ORDER

 

On September 1, 2005, the court received a letter from George
Wofford, pro se plaintiff.

Plaintiff is cautioned that it is not appropriate for a party
to initiate an §§ parte communication with a judge or magistrate
judge. Local Rule 83.5(a) provides, in pertinent part, as follows:
"A copy of all letters sent to a judge shall also be sent to all
other counsel involved in the action (or any party acting pro se)
and to the Clerk of the Court." Nothing on the face of plaintiff’s
letter indicates that a copy was sent to defense counsel and to the
Clerk. The Clerk is ORDERED to file the letter, and plaintiff is
ORDERED to send defense counsel a copy of his letter and to file a
certificate of service with the Clerk.

IT IS SO ORDERED this lst day of September, 2005.

At/w/w `1, [ %dF/VV

DIANE K. %Escovo
UNITED sTATEs MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02732 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

ESSEE

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Joshua Smeltzer

US DEPARTl\/[ENT OF .TUSTICE
P.O. Box 227

Washington, DC 20044

George William Wofford
3333 Poplar Avenue
Memphis7 TN 38111

Honorable J on McCalla
US DISTRICT COURT

